Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 1 of 16
        Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 2 of 16




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA              :     CRIMINAL NO. 1:21-MJ-0088
                                      :
                                      :
                                      :
            v.                        :
                                      :
MARSHAL NEEFE,                        :
CHARLES BRADFORD SMITH,               :
                                      :
            Defendants                :


                                      ORDER



      Upon a finding that the defendants are financially unable to obtain counsel,
IT IS ORDERED that the Federal Public Defender, 100 Chestnut Street, Suite 306,
Harrisburg, Pennsylvania, 17101, telephone number (717) 782-2237, is appointed to
represent the defendants in all Middle District of Pennsylvania Rule 5 proceedings.




                                            s/ Martin C. Carlson
                                            ____________________________
                                            Martin C. Carlson
                                            United States Magistrate Judge
            9/13/2021
Dated: __________________
                   Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 3 of 16

AO 94 (Rev. 06/09) Commitment to Another Di strict



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Middle District of Pennsylvania

                  United States of America                          )
                                V.                                  )
                                                                    )       Case No. 1:21-mj-0088-MCC
                    MARSHALL NEEFE                                  )
                                                                    )         Charging District's
                            Defe ndant                              )         Case No. 1:21-CR-0567

                                             COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the                                  District of Columbia
                                                                                                         - -- - - - - - -
(ifapplicable)    _ __ _ _ _ _ _ _ _ _ division. The defendant may need an interpreter for this language:



         The defendant:          0 will retain an attorney.
                                 aYis requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant' s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

                                                                             1 / Marfin C. cartloll
Date:            9 -{L(- JOJ \
                                                                                          Judge 's signature


                                                                              Martin C. Carlson, U.S. Magistrate Judge
                                                                                        Printed name and title
                    Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 4 of 16

AO 466A (Rev. 12/09) Waiver of Rule 5 & 5. 1 Hearings (Complaint or Indi ctment)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Middle District of Pennsy lvania

                  United States of America                                    )
                                 V.
                                                                              )      Case No. 1 :21-mj-0088-MCC
                                                                              )
                     MARSHALL NE~FE                                           )
                                                                              )      Charging District's Case No.        1:21-CR-0567
                             Defendant                                        )

                                                  WAIVER OF RULE 5 & 5.1 HEARINGS
                                                       (Complaint or Indictment)

          I understand that I have been charged in another district, the (name ofother court)                           District of Columbia

          I have been informed of the charges and of my rights to:

          {I)        retain counsel or request the assignment of counsel if I am unable to retain counsel ;

          (2)        an identity hearing to determine whether I am the person named in the charges;

          (3)        production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

          (4)        a preliminary hearing within 14 days of my first appearance if I am in custody and 21 days otherwise -
                     unless I am mdicted - to determine whether there 1s probable cause to believe that an offense has
                     been committed;

          (5)        a hearing on any motion by the government for detention;

          (6)        request transfer of the proceedings to thi s district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
        :<           an identity hearing and production of the warrant.
          0          a preliminary hearing.
          0          a detention hearing .
          o          an identity hearing, production of the warrant, and any preliminary or detention hearing to which I may
                     be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
                     by that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting di strict where the charges are
pending against me.




              FILED
       HARRISBURG, PA
              SEP 13 2021                                                              Printed name of defendant 's attorney

PER _ _ _ _ _ _ _ __
       DEPUTY CLERK
       Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 5 of 16




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                                                           FILED
UNITED STATES OF AMERICA                              CR. NO.        HARRISBURG, PA

                      V.
                                                                         SE'}) 3.20ft
                                                                 PER_ f JL)'y\J
MARSHALL NEEFE                                        (U.S. Mag. Judge   8:filtrrJ1LeRK
                           MOTION FOR DETENTION

      AND NOW comes the United States of America, by its

undersigned counsel and, pursuant to Title 18 United States Code , §

3142, hereby requ ests detention of the above-named defendant, and sets

forth in support thereof

  x   1.     That the government is entitled to a detention hearing based

             upon the following:

        x        a.   Defendant is charged with a crime of violence as

                      defined in Title 18 U .S.C. § 3156 or an offense listed in

                      Title 18 U.S.C . § 2332(g)(5)(B) for which a maximum

                      term of imprisonment of 10 years or more is prescribed,

                      see 18 U.S .C. § 3142(f)(l)(A); or

            b.        Defendant is charged with an offense for which the

                      maximum sentence is life imprisonment or death, see

                      18 U.S.C. § 3142(f)(l)(B); or
Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 6 of 16




     c.   Defendant is charged with an offense for which a

          maximum term of imprisonment of 10 years or more is

          prescribed in the Controlled Substances Act (Title 21 ,

          U.S.C. , § 801 et seq.) , or Section 1 of the Act of

          September 15, 1980 (Title 21, U.S.C. , § 955a), see 18

          U.S.C. § 3142(f)(l)(C); or

     d.   Defendant is presently charged with a felony and has

          been convicted of two or more offenses described in

          subparagraph a-c above , or two or more state or local

          offenses that would have been offenses described in

          subparagraphs a-c above if a circumstance giving rise

          to federal jurisdiction had existed or a combination of

          such offenses, see 18 U.S.C. § 3142(f)(l)(D); or

     e.   Defendant is charged with a felony that is not

          otherwise a crime of violence that involves a minor

          victim or that involves the possession or use of a

          firearm or destructive device , or involves a failure to

          register under§ 2250 of Title 18, United States Code.

          See 18 U.S.C. § 3142(f)(l)(E).


                               2
     Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 7 of 16




         X        f. That a serious risk exists that defendant will flee , see

                     18 U.S.C . § 3142(f)(2)(A) or

         X        g. That a serious risk exists that defendant will obstruct

                     or attempt to obstruct justice or threaten injure or

                     intimidate or attempt to threaten injure or intimidate ,

                     a prospective witness or juror. See 18 U.S.C. §

                     3142(f)(2)(B)

_ _ 2.       That a rebuttable presumption arises that no condition or

             combination of conditions will reasonably assure the safety

             of any other person and the community, in that:

    --       a.      That defendant has been convicted of a federal offense

                     described in subsection 1 (a)-(d) above, or of a state or

                     local offense that would have been an offense described

                     in subsection l(a)-(d) above if a circumstance giving

                     rise to federal jurisdiction had existed;

    _ _ b.           That the offenses described in paragraphs 1 (a) -(d)

                     above were committed while defendant was on release

                     pending trial for a federal, state or local offense; and




                                         3
Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 8 of 16




_ _ c.    A period of not more than five years has elapsed since

          the date of defendant's conviction or release from

          imprisonment      for the offenses described in

          paragraph l(a)-(d) whichever is later. See 18 U.S.C. §

          3142(e).

 3. That a rebuttable presumption arises that no condition or

    combination of conditions will reasonably assure the

    appearance of defendant as required and the safety of the

    community, in that:

    a.    Defendant committed an offense for which a maximum

          term of imprisonment of ten years or more is

          prescribed in the Controlled Substances Act (Title 21 ,

          U.S.C. , § 951 et. seq .), Section 1 of the Act of

          September 15, 1980 (Title 21 , U.S.C. , § 955a; or

    b.    Defendant committed an offense under Title 18, U.S.C. ,

          § 924(c), that is, defendant did during and in relation

          to any crime of violence or drug trafficking crime u se or

          carry a firearm; or




                                4
        Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 9 of 16




    _ _ c.        Defendant committed an offense under Title 18, U.S.C.

                  § 2332b(g)(5)(B) for which a maximum term of

                  imprisonment of ten years or more is prescribed, or an

                  offense involving a minor victim under Title 18, U.S.C. ,

                  §§ 1201, 1591, 2241 -42, 2244-45, 2251-52, 2260, 2421-

                  23 or 2425.   See 18 U.S.C. § 3142(e)(3)(C) and (E).

_x_4.       The Government further submits that no condition or

            combination of conditions will reasonably assure the

            appearance of defendant as required and the safety of any

            other person and the community because:

    _x_ a.        Defendant is a danger to any other person or the

                  community, and/or;

    _X      b.    Defendant is a flight risk.

   5.       The defendant is currently in custody on other matters.

            The United States requests the entry of a detention order at

            this time without prejudice to a full detention hearing in the

            event that the defendant's custodial status changes.

   6.       The United States r equests a continuance of three days in

            which to prepare for a hearing on this motion.


                                      5
      Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 10 of 16




                                        Respectfully submitted,

                                        BRUCE D. BRANDLER
                                        Acting United States Attorney

Dated: September 13, 2021               BY: Isl Michael A. Consiglio
                                        Michael A. Consiglio
                                        Assistant United States Attorney
                                        Michael. Consiglio@usdoj.gov
                                        PA#76103
                                        228 Walnut Street, Suite 220
                                        P.O . Box 11754
                                        Harrisburg, PA 17108-1754
                                        Phone: (717) 221-4482
                                        Fax: (717)221-2246




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                     Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 11 of 16

AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT                                        1-111£.ILED
                                                                    for the
                                                                                                           ·~SBf.JRG,pA
                                                                  District of                              SEP 14 2821
                                                                                                      PER_      ~Jvv
                   United States of America                             )
                                                                        )
                                                                                                          lD>EEPuiy~~C~l.ERJ(~---
                                  V.
                                                                        )       Case No.    1: z, .. MJ - 88
                                                                        )
                              Defendant                                 )

                                        ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

      Upon the

                    otion of the Government attorney pursuant to 18 U.S.C. § 3 l 42(f)(l ), or
                   Motion of the Government or Court' s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part Il - Findings of Fact and Law as to Presumptions under§ 3142(e)

  DA. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
   presumption that no condition or combination of conditions will reasonably assure the safety of any other person
   and the community because the following conditions have been met:
       D (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(l):
                  D (a) a crime of violence, a violation of 18 U.S.C. § I 591, or an offense listed in 18 U.S.C.
                    § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
               D (b) an offense for which the maximum sentence is life imprisonment or death; or
               D (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                    Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                    (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
               D (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                    (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                    described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                    jurisdiction had existed, or a combination of such offenses; or
               D (e) any felony that is not otherwise a crime of violence but involves:
                    (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U .S.C. § 921 );
                    (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
           D (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
             § 3 l 42(f)( 1), or of a State or local offense that would have been such an offense if a circumstance giving rise
             to Federal jurisdiction had existed; and
           D (3) the offense described in paragraph (2) above for which the defendant has been convicted was
             committed while the defendant was on release pending trial for a Federal, State, or local offense; and
           D (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
             defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.
                                                                                                                        Page I of3
                     Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 12 of 16

AO 472 (Rev. 11 /1 6) Order of Detention Pending Trial

  OB.    Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, fi.rearm, other offenses) : There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
            D (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
              Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
              U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S .C. (46 U.S.C. §§ 70501-70508);
            D (2) an offense under 18 U .S.C. §§ 924(c), 956(a), or 2332b;
            D (3) an offense -listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
                or more is prescribed;
            D (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U .S.C. §§    1581-1597) for which a maximum term of
                imprisonment of 20 years or more is prescribed; or
            D (5) an offense involving a minor victim under 18 U.S.C. §§ 1201 , 1591 , 2241, 2242, 2244(a)(l), 2245 ,
                2251 , 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(l), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
                2260,2421 , 2422, 2423 , or2425 .

  DC.      Conclusions Regarding Applicability of Any Presumption Established Above

            D The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis. (Part Ill need not be completed.)
                OR
            D The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                presumption and the other factors discussed below, detention is warranted.

                                    Part ill - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3 l 42(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

  ~        !ear and convincing evidence that no condition or combination of conditions of release will reasonably assure
      the safety of any other person and the community.

  D By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       ~    ight of evidence against the defendant is strong
       ffSubject to lengthy period of incarceration if convicted
       D Prior criminal history
       D Participation in criminal activity while on probation, parole, or supervision
       D History of violence or use of weapons
       ~   story of alcohol or substance abuse
       D Lack of stable employment
       D Lack of stable residence
       D Lack of financially responsible sureties
       D Lack of significant community or family ties to this district
                                                                                                                     Page 2 of 3
                      Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 13 of 16

AO 4 72 (Rev. 11 / 16) Order of Detention Pending Trial

         D Significant family or other ties outside the United States
         D Lack of legal status in the United States
         D Subject to removal or deportation after serving any period of incarceration
         D Prior failure to appear in court as ordered
         D Prior attempt(s) to evade law enforcement
         D Use of alias(es) or false documents
         D Background information unknown or unverified
         D Prior violations of probation, parole, or supervised release
OTHER REASONS OR FURTHER EXPLANATION:




     •


                                                    Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General 's designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with def ense counsel. On order of a court of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.

Date:
                                                                                 United States M agistrate Judge




                                                                                                                   Page 3 of 3
       Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 14 of 16

                                                                                       CLOSED
                       United States District Court
               Middle District of Pennsylvania (Harrisburg)
    CRIMINAL DOCKET FOR CASE #: 1:21−mj−00088−MCC All Defendants
                                 *SEALED*
                             Internal Use Only

Case title: USA v. SEALED                               Date Filed: 09/14/2021
                                                        Date Terminated: 09/14/2021

Assigned to: Magistrate Judge
Martin C. Carlson

Defendant (1)
Marshall Neefe                    represented by Melissa B. Porter
TERMINATED: 09/14/2021                           Federal Public Defender's Office
                                                 100 Chestnut Street, Suite 306
                                                 Harrisburg, PA 17101
                                                 717−782−2237
                                                 Email: melissa_porter@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Public Defender or Community
                                                 Defender Appointment

Pending Counts                                  Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                               Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                      Disposition
18:1512K.F

Assigned to: Magistrate Judge
Martin C. Carlson

Defendant (2)
Charles Bradford Smith             represented by Melissa B. Porter
TERMINATED: 09/14/2021                            (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Public Defender or Community
                                                  Defender Appointment

Pending Counts                                   Disposition
        Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 15 of 16

None

Highest Offense Level (Opening)
None

Terminated Counts                                     Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                            Disposition
18:1512K.F


Plaintiff
USA                                           represented by Michael A. Consiglio
                                                             U.S. Attorney's Office
                                                             Federal Building
                                                             Suite 220
                                                             228 Walnut Street
                                                             Harrisburg, PA 17108−1754
                                                             717−221−4482
                                                             Email: michael.consiglio@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant US Attorney

 Date Filed    #    Docket Text
 09/13/2021     1 SEALED INDICTMENT from the District of Columbia as to Marshall Neefe (1),
                  Charles Bradford Smith (2). (kjn) (Entered: 09/14/2021)
 09/13/2021     2 (Court only) Minute Entry for proceedings held before Magistrate Judge Martin C.
                  Carlson:Initial Appearance in Rule 40 Proceedings as to Marshall Neefe, Charles
                  Bradford Smith held on 9/13/2021. (Tape #Webex Recorded − Saved to Network
                  Drive.)Total Time in Court [:30] (kjn) (Entered: 09/14/2021)
 09/13/2021     3 CJA 23 − FINANCIAL AFFIDAVIT by Marshall Neefe. (kjn) (Entered: 09/14/2021)
 09/13/2021     4 CJA 23 − FINANCIAL AFFIDAVIT by Charles Bradford Smith. (kjn) (Entered:
                  09/14/2021)
 09/13/2021     5 MOTION FOR DETENTION by USA as to Marshall Neefe. (kjn) (Entered:
                  09/14/2021)
 09/13/2021     6 WAIVER of of Identity Hearing by Marshall Neefe. (kjn) (Entered: 09/14/2021)
 09/13/2021     7 WAIVER of of Identity Hearing by Charles Bradford Smith. (kjn) (Entered:
                  09/14/2021)
 09/13/2021     8 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Marshall Neefe,
                  Charles Bradford Smith. Signed by Magistrate Judge Martin C. Carlson on September
                  13, 2021. (kjn) (Entered: 09/14/2021)
 09/13/2021     9 ORDER Setting Conditions of Release as to Charles Bradford Smith. Signed by
                  Magistrate Judge Martin C. Carlson on September 13, 2021. (kjn) (Entered:
                  09/14/2021)
 09/13/2021   10 ORDER TO APPEAR IN THE DISTRICT WHERE CHARGES ARE PENDING
                 AND TRANSFERRING BAIL as to Charles Bradford Smith. Signed by Magistrate
     Case 1:21-cr-00567-RCL Document 9 Filed 09/15/21 Page 16 of 16

                 Judge Martin C. Carlson on September 13, 2021. (kjn) (Entered: 09/14/2021)
09/13/2021   11 ORDER SCHEDULING A DETENTION HEARING as to Marshall Neefe. Detention
                Hearing set for 9/14/2021 at 4:00 PM in Harrisburg − Courtroom 5 before Magistrate
                Judge Martin C. Carlson. Signed by Magistrate Judge Martin C. Carlson on September
                13, 2021. (kjn) (Entered: 09/14/2021)
09/14/2021       Arrest (Rule 40) of Marshall Neefe, Charles Bradford Smith. (kjn) (Entered:
                 09/14/2021)
09/14/2021       Sealed Document as to Charles Bradford Smith − Unredacted OSCR. (kjn) (Entered:
                 09/14/2021)
09/14/2021   12 (Court only) Minute Entry for proceedings held before Magistrate Judge Martin C.
                Carlson:Detention Hearing as to Marshall Neefe held on 9/14/2021. (Tape #Digitally
                Recorded − Saved to Network Drive.)Total Time in Court [1:15] (kjn) (Entered:
                09/15/2021)
09/14/2021   13 ORDER OF DETENTION PENDING TRIAL as to Marshall Neefe (1). Signed by
                Magistrate Judge Martin C. Carlson on September 14, 2021. (kjn) (Entered:
                09/15/2021)
09/14/2021   14 COMMITMENT TO ANOTHER DISTRICT as to Marshall Neefe. Defendant
                committed to District of District of Columbia. Signed by Magistrate Judge Martin C.
                Carlson on September 14, 2021. (kjn) (Entered: 09/15/2021)
09/15/2021       (Court only) ***Case Terminated as to Marshall Neefe, Charles Bradford Smith.
                 Transfer documents emailed to District of Columbia. (kjn) (Entered: 09/15/2021)
